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 9                     IN THE DISTRICT COURT OF THE UNITED STATES

10                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

11                                   SACRAMENTO DIVISION

12

13   UNITED STATES OF AMERICA,                        No. 08-CR-0064

14                  Plaintiff,                        STIPULATION AND PROPOSED
                                                      ORDER TO CONTINUE
15   vs.                                              STATUS CONFERENCE

16   CHI KEUNG HUI,

17                  Defendant.

18                                         /

19                  It is hereby stipulated by and between the parties of record that the status

20   conference in the above-referenced matter should be continued from December 8,

21   2011, to February 2, 2012, at 9:00 a.m. It is further stipulated that there is good cause

22   for said continuance to accommodate conflicts arising from counsels’ personal and trial

23   schedules, for further consultation with immigration counsel, and for defense

24   preparation, research and continuity of counsel pursuant to 18 U.S.C.§§ 3161 (h)(7)(A)

25   and (B)(iv) under Local Rule T4.

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 1   Dated: December 6, 2011

 2

 3                                                    /s/ Ted W. Cassman
                                              TED W. CASSMAN,
 4                                            Attorney for Defendant
                                              CHI KEUNG HUI
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 6   Dated: December 6, 2011

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 8                                                      /s/ Michael Beckwith
                                              MICHAEL BECKWITH,
 9                                            Assistant United States Attorney

10

11                                           ORDER

12                For the reasons stated above, the status conference in this matter,

13   currently set for December 8, 2011, is continued to February 2, 2012, at 9:00 a.m.; and

14   the time beginning, December 8, 2011, and extending through February 2, 2012, is

15   excluded from the calculation of time under the Speedy Trial Act for effective defense

16   preparation, research and continuity of counsel. The Court finds that interests of justice

17   served by granting this continuance outweigh the best interests of the public and the

18   defendants in a speedy trial. 18 U.S.C.§§ 3161 (h)(7)(A) and (B)(iv).

19                IT IS SO ORDERED.

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      Dated: December 12, 2011
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                                              MORRISON C. ENGLAND, JR.
23                                            UNITED STATES DISTRICT JUDGE

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